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17
                              NORTHERN DISTRICT OF CALIFORNIA
18
                                     SAN FRANCISCO DIVISION
19
     UNITED STATES OF AMERICA, ex rel.   )               CASE NO. CV-16-02120-EMC
20   GWEN THROWER                        )
                                         )
21                Plaintiff and Relator, )               UNITED STATES'
                                         )               NOTICE OF MOTION AND MOTION TO
22         V.                            )               DISMISS RELATOR'S AMENDED
                                         )               COMPLAINT;
23   ACADEMY MORTGAGE CORP.              )
                 Defendant.              )               MEMORANDUM OF POINTS AND
24                                       )               AUTHORITIES IN SUPPORT
                                         )
25                                       )               The Honorable Edward M. Chen
                                         )               Courtroom 5, 17th Floor
26                                       )               Date: August 24, 2017
                                         )               Time: 1 :30 p.m.
27   _ _ _ _ _ _ _ _ _ _ _)
28
     U.S. MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
     Case No. CV-16-02120-EMC
 1                           NOTICE OF MOTION AND MOTION TO DISMISS

 2          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 3          PLEASE TAKE NOTICE THAT on August 24, 2017, at 1:30 p.m., or as soon

 4 thereafter as the matter may be heard by the Court, in the courtroom of the Honorable Edward

 5 M. Chen, located at 450 Golden Gate Avenue, San Francisco, California, Courtroom 5, real party

 6 in interest the United States of America ("United States") will and hereby does move the Court,

 7 pursuant to 31 U.S.C. § 3730( c)(2)(A), for an order dismissing each claim for relief asserted in

 8 Relator's Amended Complaint.

 9          The United States brings this motion on the grounds that it has a valid governmental

10 purpose in dismissing the case, and that there is a rational relationship between dismissal and

11   accomplishment of the purpose. It respectfully submits that this motion to dismiss, which

12   constitutes a determination by the United States as a matter of its prosecutorial discretion that

13   Relator's pursuit of this case is contrary to the United States' interests on whose behalf Relator is

14   supposed to be pursuing the case, should be decided before the Defendant Academy Mortgage

15   Corporation's Motion to Dismiss the Amended Complaint on the merits (ECF No. 50) and

16   Defendant Academy Mortgage Corporation's Amended Motion to Transfer Venue (ECF No.

17   48), and if granted obviates the need for the Court to consider Academy's motions.

18          The United States' motion is based on this Notice of Motion and Motion, the attached

19   Memorandum of Points and Authorities, all pleadings and papers filed in this action, oral

20   argument of counsel, and any other matters as may come before the Court.

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     U.S. MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORlTIES
     Case No . CV-16-02120-EMC
 1                            STATEMENT OF ISSUES TO BE DECIDED

 2                                    CIVIL LOCAL RULE 7-4(a)(3)

 3         1. Whether Relator's Amended Complaint should be dismissed where the United States,

 4            real party in interest, has moved for dismissal pursuant to 31 U.S.C. § 3730(c)(2)(A)

 5            and has shown a valid government purpose in dismissing the case and a rational

 6            relationship between dismissal and accomplishment of the purpose.

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     U.S. MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
     Case No. CV-16-02120-EMC                 1
 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.      STATEMENTOFFACTS

 3           On April 21, 2016, Plaintiff-Relator, Gwen Thrower ("Relator"), filed a qui tam action

 4   alleging that Defendant Academy Mortgage Corp. ("Academy"), violated the False Claims Act

 5 ("FCA"), 31 U.S.C. §§ 3729-33 et seq., by causing the submission of false claims for Federal

 6 Housing Administration (FHA) mortgage insurance by endorsing ineligible loans for FHA

 7 mortgage insurance. Compl. (ECF No. 1.) In her initial complaint, Relator alleged that

 8 Academy, a participant in HUD's Direct Endorsement program, caused its underwriters to

 9 endorse loans for FHA insurance that were in violation of FHA requirements. Compl. (ECF No.

10   1.) In the few pages of the complaint detailing Academy's conduct, the complaint copied many

11   of the general allegations from a prior complaint filed by the United States against a different

12   lender. Compare id.,, 27-91 with United States v. Quicken Loans, Inc., No. 15-cv-00613, ECF

13   No. 1, ,, 28-97 (D.D.C. April 23, 2015). For example, relator's claim that Academy used a

14   "management exception process"-in which underwriters received management approval to

15   ignore FHA underwriting guidelines-is borrowed virtually verbatim from the Government's

16   complaint against Quicken. Compare id. ,, 115-17 with Compl. ,, 99-101. (ECF No. 1.)

17 Notably, Relator's complaint lacked virtually any specific details unique to Academy, such as

18   even the names of the Academy employees that allegedly told underwriters to "make it work."

19   See, e.g., Compl., 98. (ECF No. 1.) In addition, Relator's complaint made no allegation that

20   the misconduct at issue extended beyond her single year at Academy or the specific branch in

21   which she worked. Notably, even after her complaint was filed, all of the Academy branches as

22   a whole had submitted only three claims for insurance to HUD for loans endorsed during her

23   time at Academy-totaling less than one million dollars.

24          After investigating these limited allegations, the United States declined to intervene in the

25   action, pursuant to 31 U.S.C. § 3730(b)(4)(B), in December 2016. Relator elected to proceed

26   with the action, and filed an amended complaint on April 27, 2017. It is nearly double the length

27   of the original. It adds additional allegations (such as violations of HUD's rule against

28   underwriter commissions, never mentioned in the original complaint) and now names some
     U.S. MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
     Case No. CV-16-02120-EMC                 2
 1 Academy employees allegedly complicit in the fraud. Nevertheless, the amended complaint

 2 continues to lack specificity in key areas. For, example, it describes problems with only a few

 3 loans, identifies no more than five loans that were ineligible for FHA insurance, and does not

 4 identify a single ineligible loan for which FHA insurance was actually claimed. Relator filed the

 5 amended complaint after the United States declined to intervene without a seal period for the

 6 United States to investigate.

 7          Academy has moved to dismiss the amended complaint (ECF No. 50), and the motion is

 8 fully briefed and pending before the Court, with argument set for July 27, 2017 .1

 9   II.     STATEMENT OF LEGAL AUTHORITY

10          A. The False Claims Act

11           The FCA enables the United States to recover monies lost due to the submission of false

12   claims. 31 U.S. C. § 3729. Among the unique features of the FCA is that it allows private

13   parties, known as relators, to bring an action on behalf of the United States through filing a qui

14   tam action. A qui tam suit is brought in the name of the United States, but a relator has a right to

15   a share of up to thirty percent of the recovery, plus attorneys' fees and costs. Id. § 3730(b ), (d).

16          The qui tam provisions include a number of mechanisms to ensure that the United States

17 retains substantial control over lawsuits brought on its behalf for fraud allegedly perpetrated

18   against it. Among other things, the FCA directs that the relator must file his or her complaint

19   under seal and serve it, together with a "written disclosure of substantially all material evidence

20   and information the person possesses," upon the United States. Id. § 3730(b )(1 ), (2). The

21   United States has a period of time to investigate the allegations and elect whether or not to

22   intervene in the litigation that lasts at least 60 days with extensions for good cause. Id.

23   § 3730(b)(2), (3).

24
     The Government intends to file a Statement of Interest pursuant to 28 U.S.C. § 517
     1
25
   (authorizing the Attorney General of the United States to attend to the interests of the United
26 States in any action in federal or state court) setting forth its position on the substantive issues
   raised by Academy's motion to dismiss. However, the Government suggests that the Court
27 postpone ruling on Academy's motion to dismiss and motion to transfer pending a decision on
   the Government' s dismissal motion, which the Government submits should be resolved first, and
28 if granted, would obviate the need for the Court to resolve Academy's motions.
     U.S. MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
     Case No. CV-16-02120-EMC                 3
 1          If the United States intervenes in the action, "the action shall be conducted by the

 2   Government." Id. § 3730(b )(4)(A). The government assumes "the primary responsibility for
                                                                                                             I'
                                                                                                              I


 3 prosecuting the action" and is not bound by any act of the relator. Id.§ 3730(c)(l). The relator

 4   remains a party to the suit, but the government may settle the case over the relator's objection, id.

 5   § 3730(c)(2)(B), or may otherwise seek to limit the relator's participation in the litigation; id.

 6   § 3730(c)(2)(C).

 7          Even if the United States declines to intervene in the action, the government retains

 8   substantial control over the action. For example, the Court may stay discovery in the qui tam

 9   action if it interferes with the government's investigation or prosecution of another matter. Id.

10   § 3730(c)(4). The relator cannot dismiss the action without written consent of the Attorney

11   General. Id.§ 3730(b)(l). And if the Attorney General initially declines to intervene in the suit,

12   the court "may nevertheless permit the Government to intervene at a later date upon a showing of

13   good cause." Id. § 3730(c)(3).

14          Most important for purposes of the present motion, the FCA authorizes the United States

15   to dismiss the action over the relator's objection:

16          The Government may dismiss the action notwithstanding the objections of the
17          person initiating the action if the person has been notified by the Government of
            the filing of the motion and the court has provided the person with an opportunity
18          for a hearing on the motion.

19
     Id. § 3730(c)(2)(A). The United States can move to dismiss a FCA action even though it did not
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     intervene in the litigation, as it remains the real party in interest. See United States ex rel.
21
     Sequoia Orange Co. v. Baird-Neece Packing Corp., et al. , 151 F.3d 1139, 1145 (9th Cir. 1998)
22
     (noting that§ 3730(c)(2)(A) "may permit the government to dismiss a qui tam action without
23
     actually intervening in the case at all"); Ridenour v. Kaiser-Hill Co., LLC, 397 F.3d 925, 932
24
     (10th Cir. 2005) (affirming dismissal after declination); Swift v. United States, 318 F.3d 250,
25
     251-52 (D.C. Cir. 2003) (affirming dismissal prior to intervention); cf United States ex rel. Hyatt
26
     v. Northrop Corp., 91 F.3d 1211, 1215 (9th Cir. 1996) ("[Q]ui tam plaintiffs are merely agents
27
     suing on behalf of the government, which is always the real party in interest.") (citing cases).
28
     U.S. MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
     Case No. CV-16-02120-EMC                 4
            B. The United States' Decision to Dismiss a Qui Tam Case is a Matter of
 1             Prosecutorial Discretion Entitled to Deference.
 2
            The Ninth Circuit, in Sequoia Orange, adopted a highly deferential standard of review for
 3
     a government motion to dismiss a qui tam case pursuant to 31 U.S.C. § 3730(c)(2)(A). 151 F.3d
 4
     at 1145. In order to dismiss a matter such as this, the United States need only (1) identify a
 5
     "valid government purpose" for dismissing the case, and (2) show a "rational relationship
 6
     between dismissal and accomplishment of the purpose." Id. (quotations omitted). If the United
 7
     States satisfies this two-step test, "the burden switches to the relator to demonstrate that
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     dismissal is fraudulent, arbitrary and capricious, or illegal." Id. (internal quotation marks
 9
     omitted).
10
            In developing this test, the Ninth Circuit observed that "the decision to dismiss has been
11
     likened to a matter within the government's prosecutorial discretion in enforcing federal laws,"
12
     and the dismissal provision in the FCA should not be construed to grant the Judiciary an
13
     impermissible power to approve or disapprove the Executive's exercise of prosecutorial
14
     discretion. Id. at 1143. Consequently, the Ninth Circuit reasoned that when a court considers a
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     motion by the government to dismiss a qui tam case, it should "respect[] the Executive Branch's
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     prosecutorial authority by requiring no greater justification of the dismissal motion than is
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     mandated by the Constitution itself." Id. at 1146. There are very good reasons for this type of
18
     deference:
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            First, an agency decision not to enforce often involves a complicated balancing of
20          a number of factors which are peculiarly within its expertise. Thus, the agency
            must not only assess whether a violation has occurred, but whether agency
21
            resources are best spent on this violation or another, whether the agency is likely to
22          succeed if it acts, whether the particular enforcement action requested best fits the
            agency's overall policies, and, indeed, whether the agency has enough resources to
23          undertake the action at all. An agency generally cannot act against each technical
            violation of the statute it is charged with enforcing. The agency is far better
24          equipped than the courts to deal with the many variables involved in the proper
25          ordering of its priorities.

26
     Hecker v. Chaney, 470 U.S. 821, 831-32 (1985). In this matter, the government's legitimate
27
     purpose for dismissal is the preservation of government resources. As this purpose is both
28
     U.S. MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
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 1 legitimate and rationally related to dismissal, the United States meets its burden and this matter

 2 should be dismissed.

 3 III.     DISCUSSION
 4
            A. Continued Pursuit of this Case Imposes An Unwarranted Burden on the United
 5             States.

 6          Dismissal of the complaint is warranted because of the burdens the litigation has placed

 7 and can be expected to place on the government. This case follows in the footsteps of other

 8 cases alleging fraud in mortgage origination in which the United States has either litigated or

 9 reached a settlement, including both qui tam actions and cases brought by the United States in

10 the first instance. See, e.g., United States ex rel. Dougherty v. Guild Mortg. Co., No. 16-cv-2909
11   (C.D. Cal.); Quicken Loans, No. 15-cv-00613; United States v. Wells Fargo Bank, NA., 12-cv-

12   7527 (S.D.N.Y.). The United States has chosen which cases to pursue with its limited resources

13   with great care. After careful review of Relator's complaint, her written disclosures, all other

14 information known to her, and other additional information available to the government, the

15   United States declined to use its resources to pursue this case. However, Relator's continued

16 pursuit of the case will necessarily entail expenditure of government resources.
17          The goal of minimizing expenses and government resources is "a legitimate objective,

18   and dismissal of the suit is furthered by that objective." Swift, 318 F.3d at 254; see Sequoia

19   Orange, 151 F .3d at 1146. As noted above, in a qui tam action, the relator sues on behalf of the

20   United States, for fraud against the United States, to recover damages suffered by the United
21   States. Accordingly, even where the United States declines to intervene in a qui tam action, its

22   resources often are still burdened if the relator opts to pursue the case. Such has already been the

23   case here.
24          If the litigation were to proceed, the United States would face continuing burdens. The

25   theories underlying Relator's claims, appearing in the explanatory sections of the complaint

26   copied verbatim from the government's briefs in other litigation, are also being litigated in that

27   other litigation. See, e'. g., Mot. to Dismiss, Guild Mortg., No. 16-cv-2909, ECF No. 33. The
28
     U.S. MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
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                                                                                                            II -
                                                                                                            I



 1 United States has actively monitored Academy's motion to dismiss the amended complaint, and,

 2 . as noted supra, will seek to share with the Court its position on arguments raised by Academy

 3 that could impact many of its other cases. If this case moves forward, the United States expects

 4   to be further burdened by discovery requests that tax many of the same resources being used in

 5   other litigation and investigations. · Both parties are expected to file burdensome Touhy requests

 6   for HUD documents and HUD employee testimony, see 24 CFR §§ 15.021-.206, as occurred in

 7   Quicken Loans and Wells Fargo . The same HUD personnel who are already being diverted from

 8 their regular tasks to respond to other discovery requests (and to investigatory inquiries) will be

 9   further burdened by requests in this case. Government resources will be required to monitor this

10   process and assist in any depositions and document productions that proceed under Touhy.

11   Following discovery, the United States would further monitor and participate in any briefing or

12   settlement discussions, and the same HUD employees relevant to discovery would be potential

13   witnesses at any trial.

14           Having already spent resources investigating Relator's claims, reviewing the merits of the

15   case as presented by Relator, and monitoring the case after declination, the United States has the

16   right to undertake a cost-benefit analysis and to conclude it is not in the public interest to spend

17   further time and resources on Relator's litigation of this matter. Accordingly, the additional

18   burdens that litigation of this case would impose on the United States present a rational basis for

19   the government to seek dismissal under§ 3730(c)(2)(A). See, e.g., Sequoia Orange, 151 F.3d at

20   1146 ("the government can legitimately consider the burden imposed on taxpayers by its

21   litigation, and that, even if the relators were to litigate the FCA claims, the government would

22   continue to incur enormous internal staff costs"); Swift, 318 F.3d at 254 (holding, in the

23   alternative, that "[a]lthough [the relator] believes that the costs would be relatively small, the

24   government's goal of minimizing its expenses is still a legitimate objective, and dismissal of the

25   suit furthered that objective"); cf United States ex rel. California v. Washington Township

26   Health Care Dist., 2006 WL 2053494, No. 06-cv-00261 (N.D. Cal. July 21, 2006) (n9ting, in

27   context ofrelator's voluntary motion to dismiss qui tarn suit, that "consideration of cost" is a

28   "sufficient justification to approve dismissal" of action). It is also appropriate for such a
     U.S. MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
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 1   dismissal to occur now, rather than after any further developments, to conserve maximal

 2   government and judicial resources. It makes no difference whether further litigation would

 3 prove that the complaint has merit. See Sequoia Orange, 151 F.3d at 1134 (affirming dismissal

 4   of action despite Government's concession, for purposes of motion to dismiss, that the action

 5   was meritorious).

 6          B. No Evidentiary Hearing is Required

 7          Should the Relator request an evidentiary hearing, the Court has discretion to deny such a

 8   hearing. Swift, 318 F.3d at 253. In Swift, the D.C. Circuit concluded that "the function of a

 9   hearing when the relator requests one is simply to give the relator a formal opportunity to

10   convince the government not to end the case," and not to give the Court a role in second-

11   guessing the United States' exercise of its prosecutorial discretion. Id. at 253; see also United

12   States ex rel. Hoyte v. Am. Nat'! Red Cross, 518 F.3d 61, 65 (D.C. Cir. 2008). As the Swift Court

13   explained: "Nothing in§ 3730(c)(2)(A) purports to deprive the Executive Branch of its historical

14   prerogative to decide which cases should go forward in the name of the United States." Swift,

15   318 F. 3d at 253. While the district court in Ridenour provided the relators with a five-day

16   evidentiary hearing, it did so before the Swift case was decided. After Swift, the Tenth Circuit

17   suggested that a hearing is not always necessary. "These hearings, however, are only to be

18   granted if relators can show a 'substantial and particularized need for a hearing.'" Ridenour, 397

19   F.3d at 931 (citing to the Congressional history, S. Rep. 99-345, at 26 (1986), reprinted in 1986

20   U.S.C.C.A.N. 5266, 5291). The Ridenour Court went on to clarify that the notice and hearing

21   provision should not be interpreted to "pose a significant burden for the government or courts."

22   Id. at 931 n.10. The Ninth Circuit has similarly noted that "Congress apparently intended that

23   the provision authorizing relators to formally object ... should not pose a significant burden for

24   the government or courts." US. ex rel. Kelly v. Boeing Co., 9 F.3d 743 , 753 n.11 (9th Cir.

25   1993). Given the record established to date, the government believes that an evidentiary hearing

26   is neither necessary nor appropriate. A hearing would not change the United States' assessment

27   of how best to use its resources nor would it reveal some unlawful purpose regarding the same.

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     U.S. MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
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 1 IV.      Conclusion

 2          The government moves to dismiss this action brought in its name for the legitimate

 3   purpose of conserving scarce resources that would need to be expended by the government to

 4   monitor this case and respond to pleadings, Touhy requests, and trial subpoenas. As the Relator

 5   cannot establish that this reason is arbitrary, capricious, fraudulent or illegal, the government's

 6   motion to dismiss should be granted.
                                                           Respectfully submitted,
 7
                                                           CHAD A. READLER
 8                                                         Acting Assistant Attorney General

 9                                                         BRIAN STRETCH
                                                           United States Attorney
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11   Dated: July 19, 2017                            By:
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14   Dated: July 19, 2017                            By:
                                                           MICHAEL D. GRANSTON
15                                                         SARA McLEAN
                                                           JEFFREY A . HALL
16                                                         Civil Division, Department of Justice
                                                           Attorneys for the United States
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     U.S. MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
     Case No. CV-16-02120-EMC                 9
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     IV.    Conclusion

 2          The government moves to dismiss this action brought in its name for the legitimate

 3 purpose of conserving scarce resources that would need to be expended by the government to

 4   monitor this case and respond to pleadings, Touhy requests, and trial subpoenas. As the Relater

 5 cannot establish that this reason is arbitrary, capricious, fraudulent or illegal, the government's

 6 motion to dismiss should be granted.
                                                          Respectfully submitted,
 7
                                                          CHAD A. READLER
 8                                                        Acting Assistant Attorney General
 9                                                        BRTAN STRETCH
                                                          United States Attorney
JO

11   Dated: July 19, 2017                           By:
                                                          DOUGLAS CHANG
12                                                        Assistant United States Attorney
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14   Dated:July19,2017
                                                    By~~N
15                                                   S-       cLEAN
                                                     JEFFREY A. HALL
16                                                   Civil Division, Department of Justice
                                                     Attorneys for the United States
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     U.S. MOTION TO DISMISS; MEMORANDUM OF POINTS AND AUTHORITIES
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